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                                                                                  8:34 am, Nov 10 2021
                        IN THE UNITED STATES DISTRICT COURT                        AT BALTIMORE
                           FOR THE DISTRICT OF MARYLAND                            CLERK, U.S. DISTRICT COURT
                                                                                   DISTRICT OF MARYLAND
                                                                                   BY ______________Deputy
 IN THE MATTER OF THE
 APPLICATION OF THE UNITED
 STATES OF AMERICA FOR A SEARCH                               1:21-mj-2872 TMD
                                                    Case. No. ____________________
 WARRANT AUTHORIZING THE
 SEARCH OF TWO CELLULAR PHONES
 CURRENTLY IN ATF CUSTODY IN
 BALTIMORE, MARYLAND


                              AFFIDAVIT IN SUPPORT OF
                         APPLICATION FOR SEARCH WARRANT

       I, Terence Byrne, a Special Agent (“SA”) with the Bureau of Alcohol, Tobacco, Firearms,

and Explosives (“ATF”), being duly sworn, depose and state as follows:

       1.       I submit this affidavit in support of an application for a search warrant authorizing

the search of two cellphones:

       x        A black Apple iPhone, bearing IMEI: 356466108739726 (SUBJECT

                ELECTRONIC DEVICE 1), and

       x        A black Samsung cellular telephone, bearing IMEI: 353325703541783 (SUBJECT

                ELECTRONIC DEVICE 2).

(collectively the SUBJECT ELECTRONIC DEVICES), further described in Attachment A. the

SUBJECT ELECTRONIC DEVICES are currently in the custody of ATF in Baltimore,

Maryland.

       2.       The ATF and Anne Arundel County Police Department (“AAPD”) are

investigating Rodney PROCTOR for violation of 18 U.S.C. § 922(g)(1) (possession of a firearm

and ammunition by a prohibited person) (the “Target Offense”). I submit that there is probable

cause to believe that the SUBJECT ELECTRONIC DEVICES, further described in Attachment

A, contain evidence of the Target Offense.
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       3.       This affidavit is being submitted for the limited purpose of securing the requested

warrant. I have not included details of every aspect of this investigation to date. Rather, I have

set forth only those facts that I believe are necessary to establish probable cause supporting the

warrant. I have not, however, intentionally omitted information that would tend to defeat a

determination of probable cause. The information contained in this affidavit is based upon my

personal knowledge, my review of documents, as well as conversations with other law

enforcement officers and other individuals. All conversations and statements described in this

affidavit are related in substance and in part unless otherwise indicated.

                                  AFFIANT BACKGROUND

       4.       I am “an investigative or law enforcement officer” of the United States within the

meaning of Title 18, United States Code, Section 2510(7), that is, an officer of the United States

who is empowered by law to conduct investigations of, and to make arrests for, offenses

enumerated in Section 2516 of Title 18, United States Code.

       5.       Specifically, I am a Special Agent with ATF and am currently assigned to the

Baltimore Field Division, Group VII, Crime Gun Enforcement Team. I have worked for ATF

since November of 2017, and I attended the Department of Homeland Security’s Criminal

Investigator Training Program and ATF’s Special Agent Basic Training for a combined period of

26 weeks, during which time I received extensive training in the provisions of firearms and

narcotics laws administered under Title 18, Title 21, and Title 26 of the United States Code. Prior

to my employment with ATF, I was employed by the Virginia Department of State Police as a

State Trooper and Special Agent for six and a half years. I have participated in numerous

investigations concerning the illegal possession and use of firearms, armed robbery, and violation

of federal controlled substance laws. I have also received specialized and/or experiential training




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on firearms, armed robbery, and controlled substance offenses, and personally participated in

various types of investigative activities in connection with investigations into these offenses.

       6.       As a Special Agent, I have participated in complex investigations focusing on

controlled dangerous substances (“CDS”) trafficking, gangs, and illegal firearms.            I have

investigated people who illegally possess or traffic firearms, participated in the execution of state

and federal search and arrest warrants involving violent offenders, and participated in the seizure

of numerous firearms and CDS. Through my training and experience, I have become familiar with

the manner in which illegal firearms are possessed, used, transported, stored, and distributed, the

methods of payment for such, and the manner in which those who unlawfully possess and use

firearms communicate with each other. Specifically, based upon my training and experience, I

have learned the following:

              a.     Cellular telephones are an indispensable tool to those who unlawfully
       possess and use illegal firearms. These individuals use cellular telephones, push-to-talk
       telephones, Short Message Service (“SMS”), electronic-mail, and similar electronic means
       and/or devices, often under fictitious names or names other than their own, in order to
       maintain contact with other conspirators. Thus, these electronic devices hold valuable
       evidence of conversations between suspects regarding the unlawful possession and use of
       firearms;

                b.      Individuals who unlawfully possess and/or use firearms also use cellular
       devices to maintain records of their illegal activities, including telephone number “contact
       lists,” address lists, photographs of firearms, and other personal identifiable information or
       information related to individuals who may have assisted in the purchasing and storage of
       firearms and ammunition; and

               c.     Individuals who unlawfully possess and/or use firearms use cellular
       telephones, pagers and other electronic communications devices to facilitate illegal
       transactions and keep in contact with co-conspirators. The electronically stored
       information on these devices is of evidentiary value in identifying other members of the
       conspiracy and establishing the relationship between these individuals, including
       photographs, texts, social media messages, and other identifying information stored on
       these devices.




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                                       PROBABLE CAUSE

       7.       On August 22, 2021, AAPD officers observed a gold Lexus pull into the turnaround

circle in front of the Clarion Hotel, located at 7253 Parkway Drive, Hanover, Maryland. AAPD

officers noticed the car’s windows were heavily tinted and believed, through their training and

experience, that the window tint was above the legal limit, so they initiated a traffic stop. 1

       8.       The officers approached the driver’s side window, identified the driver as Rodney

PROCTOR, and immediately smelled a strong odor of marijuana emanating from the car. They

asked PROCTOR if he had been smoking marijuana, and PROCTOR said that he and his friends

had been partying the night before. The officers asked PROCTOR to get out of the car so they

could search it. While PROCTOR was getting out, an officer observed a bulge in his front pant

pocket, so he frisked him, but he did not find any contraband.

       9.       During the search of PROCTOR’s car, officers located a black Taurus G3C 9mm

pistol bearing serial number ABM215183 that was loaded with 10 rounds of 9mm ammunition

under the front driver's seat. They also found multiple bags of suspected marijuana that weighed

approximately 178 grams in total, drug paraphernalia with suspected marijuana residue, a black

lid to a digital scale, $819.00, and SUBJECT ELECTRONIC DEVICE 2. Officers subsequently

searched PROCTOR and found SUBJECT ELECTRONIC DEVICE 1.

       10.      The firearm was later test fired and determined to be operable, thereby satisfying

the definition of a firearm pursuant to 18 U.S.C. § 921. The firearm was manufactured outside the

state of Maryland and traveled in interstate commerce prior to its recovery in Maryland.




1
  Officers later confirmed the window tint was above the legal limit by using a tint meter, which
is a machine designed to measure the tint percentage.


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       11.     Further investigation revealed that PROCTOR has been convicted of a crime

punishable by imprisonment for a term exceeding one year. Specifically, in 2013, PROCTOR

was convicted of a Hobbs Act Robbery and sentenced to 11 years imprisonment. Accordingly, at

the time PROCTOR possessed the handgun on August 22, he was prohibited from possessing a

firearm and knew or should have known that he had been convicted of a crime punishable by over

a year imprisonment.

      FORENSIC ANALYSIS OF ELECTRONIC COMMUNICATIONS DEVICES

       12.     Based on my training and experience, I know that electronic devices such as cellular

phones (smartphones) can store information for long periods of time. Similarly, things that have

been viewed via the internet are typically stored for some period of time on the device. This

information can sometimes be recovered with forensics tools. There is probable cause to believe

that things that were once stored on the SUBJECT ELECTRONIC DEVICES may still be stored

on those devices, for various reasons, as discussed in the following paragraphs.

       13.     As further described in Attachment B, this application seeks permission to locate

not only electronically stored information that might serve as direct evidence of the crimes

described on the warrant, but also forensic evidence that establishes how the SUBJECT

ELECTRONIC DEVICES were used, the purpose of their use, who used them, and when.

       14.     There is probable cause to believe that this forensic electronic evidence might be

on the SUBJECT ELECTRONIC DEVICES because data on the storage medium can provide

evidence of a file that was once on the storage medium but has since been deleted or edited, or of

a deleted portion of a file (such as a paragraph that has been deleted from a word processing file).

Virtual memory paging systems can leave traces of information on the storage medium that show

what tasks and processes were recently active. Web browsers, e-mail programs, and chat programs




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store configuration information on the storage medium that can reveal information such as online

nicknames and passwords. Operating systems can record additional information, such as the

attachment of peripherals, the attachment of USB flash storage devices or other external storage

media, and the times the computer was in use. Computer file systems can record information about

the dates files were created and the sequence in which they were created.

       15.     Forensic evidence on a device can also indicate who has used or controlled the

device. This “user attribution” evidence is analogous to the search for “indicia of occupancy”

while executing a search warrant at a residence.

       16.     A person with appropriate familiarity with how an electronic device works may,

after examining this forensic evidence in its proper context, be able to draw conclusions about how

electronic devices were used, the purpose of their use, who used them, and when.

       17.     The process of identifying the exact electronically stored information on a storage

medium that are necessary to draw an accurate conclusion is a dynamic process. Electronic

evidence is not always data that can be merely reviewed by a review team and passed along to

investigators. Whether data stored on a computer is evidence may depend on other information

stored on the computer and the application of knowledge about how a computer behaves.

Therefore, contextual information necessary to understand other evidence also falls within the

scope of the warrant.

       18.     Further, in finding evidence of how a device was used, the purpose of its use, who

used it, and when, sometimes it is necessary to establish that a particular thing is not present on a

storage medium.

       19.     Again, the SUBJECT ELECTRONIC DEVICES remain in the custody of law

enforcement. The only known specifics of each phone requested for authorization to search are




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detailed in Attachment A and the types of information expected to be recovered from the devices

are listed in Attachment B.

                                         CONCLUSION

       20.     WHEREFORE, I respectfully request that this Court issue a warrant to search the

SUBJECT ELECTRONIC DEVICES, further described in Attachment A, for certain evidence

and information, further described in Attachment B and herein.

       21.     Additionally, I believe there is good cause to authorize the requested searches at

any time of the day or night. The SUBJECT ELECTRONIC DEVICES are already in law

enforcement custody, and it is reasonable to allow law enforcement to execute the requested

searches at any hour of the day, even during the evening or night, if doing so is convenient for the

investigators or examiners. Because the devices are in law enforcement custody already, there is

no prejudice to any other person from this request.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.
                                      TERENCE Digitally              signed by
                                                            TERENCE BYRNE
                                                            Date: 2021.10.14
                                      BYRNE                 13:27:39 -04'00'
                                      ____________________________________________
                                      Terence O. Byrne III, Special Agent
                                      Bureau of Alcohol, Tobacco, Firearms, and Explosives



       Affidavit submitted by email andd attested to me as true an
                                                                aand             telephone consistent
                                                                   d accurate by telephon
with Fed. R. Crim. P. 4.1 and 41(d)(3) this             ______________,
                                                day of _______ ___________, 2021.
                                                               __




                                      _________________________________
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                                      The
                                       h HHonorable    Thomas M
                                                   bl Th       M. DiGi
                                                                  DiGirolamo
                                                                        l
                                      United States Magistrate Judge




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                                  ATTACHMENT A
                                 Items to be Searched

    The SUBJECT ELECTRONIC DEVICES,

x   One (1) black Apple IPhone, bearing IMEI: 356466108739726 (SUBJECT
    ELECTRONIC DEVICE 1); and
x   One (1) black Samsung cellular telephone, bearing IMEI: 353325703541783 (SUBJECT
    ELECTRONIC DEVICE 2);


    which are currently in the custody of ATF in Baltimore, Maryland.
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                                       ATTACHMENT B
                                       Items to be Seized
All records contained in the items described in Attachment A, which constitute evidence of
violations of the Target Offense including but not limited to that outlined below:

   1. Contact logs that refer or relate to the user of any and all numbers on the SUBJECT
      ELECTRONIC DEVICES.

   2. Call logs reflecting date and time of received calls.

   3. Any and all digital images and videos of persons associated with this investigation.

   4. Text messages to and from the SUBJECT ELECTRONIC DEVICES that refer or relate
      to the crimes under investigation.

   5. Records of incoming and outgoing voice communications that refer or relate to the crimes
      under investigation.

   6. Voicemails that refer or relate to the crimes under investigation.

   7. Voice recordings that refer or relate to the crimes under investigation.

   8. Any data reflecting the phone’s location.

   9. Contact lists.

   10. Any and all records related to the location of the user(s) of the devices.

   11. For the SUBJECT ELECTRONIC DEVICES:
          a. Evidence of who used, owned, or controlled the devices at the time the things
               described in this warrant were created, edited, or deleted, such as logs, registry
               entries, configuration files, saved usernames and passwords, documents, browsing
               history, user profiles, email, email contacts, “chat,” instant messaging logs,
               photographs, and correspondence;
          b. evidence of software that would allow others to control the Devices, such as viruses,
               Trojan horses, and other forms of malicious software, as well as evidence of the
               presence or absence of security software designed to detect malicious software;
          c. evidence of the lack of such malicious software;
          d. evidence of the attachment to the of SUBJECT ELECTRONIC DEVICES other
               storage devices or similar containers for electronic evidence;
          e. evidence of counter forensic programs (and associated data) that are designed to
               eliminate data from the SUBJECT ELECTRONIC DEVICES;
          f. evidence of the times the SUBJECT ELECTRONIC DEVICES was used;
          g. passwords, encryption keys, and other access devices that may be necessary to
               access the SUBJECT ELECTRONIC DEVICES;
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           h. documentation and manuals that may be necessary to access the Devices or to
              conduct a forensic examination of the; SUBJECT ELECTRONIC DEVICES
              and,
           i. contextual information necessary to understand the evidence described in this
              attachment.

        With respect to the search of any of the items described above which are stored in the form
of magnetic or electronic coding on computer media or on media capable of being read by a
computer with the aid of computer-related equipment (including CDs, DVDs, thumb drives, flash
drives, hard disk drives, or removable digital storage media, software or memory in any form), the
search procedure may include the following techniques (the following is a non-exclusive list, and
the government may use other procedures that, like those listed below, minimize the review of
information not within the list of items to be seized as set forth herein, while permitting
government examination of all the data necessary to determine whether that data falls within the
items to be seized):

       1. surveying various file “directories” and the individual files they contain (analogous to
          looking at the outside of a file cabinet for markings it contains and opening a drawer
          believed to contain pertinent files);

       2. “opening” or cursorily reading the first few “pages” of such files in order to determine
          their precise contents;

       3. “scanning” storage areas to discover and possible recover recently deleted files;

       4. “scanning” storage areas for deliberately hidden files; or

       5. performing key word searches or other search and retrieval searches through all
          electronic storage areas to determine whether occurrences of language contained in
          such storage areas exist that are intimately related to the subject matter of the
          investigation.

       If after performing these procedures, the directories, files or storage areas do not reveal
evidence of the specified criminal activity, the further search of that particular directory, file or
storage area, shall cease.

        With respect to the search of the information provided pursuant to this warrant, law
enforcement personnel will make reasonable efforts to use methods and procedures that will locate
and expose those categories of files, documents, communications, or other electronically stored
information that are identified with particularity in the warrant while minimizing the review of
information not within the list of items to be seized as set forth herein, to the extent reasonably
practicable.

        If the government identifies any seized communications that may implicate the attorney-
client privilege, law enforcement personnel will discontinue its review and take appropriate steps
to segregate all potentially privileged information so as to protect it from substantive review. The
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investigative team will take no further steps regarding any review of information so segregated,
absent further order of the court. The investigative team may continue to review any information
not segregated as potentially privileged.
